                                 Case 23-30613-KKS                     Doc 8         Filed 09/03/23              Page 1 of 4
                                                                United States Bankruptcy Court
                                                                 Northern District of Florida
In re:                                                                                                                 Case No. 23-30613-KKS
Jody Ann Salway                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1129-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 01, 2023                                               Form ID: b309a                                                            Total Noticed: 28
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 03, 2023:
Recip ID                   Recipient Name and Address
db                    #+   Jody Ann Salway, 3333 Village Green Dr., Milton, FL 32571-8455
2512042                +   APP of Florida HM ,LLC, Attn: Bankruptcy Dept, 6002 Berryhill Road, Milton, FL 32570-5062
2512044                +   BuyWise Home Furnishings, Attn: Bankruptcy Dept., 312 E 9 Mile Road, #8, Pensacola, FL 32514-1475
2512048                +   Gastroenteroloty Associates, Attn: Bankruptcy Dept., 6088 Berryhill Road, Milton, FL 32570-5062
2512056                +   Rusty Moye, Auto Sales & Svc Ctr, Inc., Attn: Bankruptcy Dept., 6340 N> Palafox Street, Pensacola, FL 32503-7461
2512057                +   Santa Rosa Medical Center, Attn: Bankruptcy Billing, 6002 Berryhill Road, Milton, FL 32570-5062
2512058                +   Santa Rosa Medical Center, 4250 Woodbine Road, Attn: Bankruptcy Dept, Milton, FL 32571-8703
2512060                +   Wakefield And Associates, Attn: Bankruptcy Dept., 544 Salem Street, Suite 6, Wakefield, MA 01880-1213
2512051                +   myHomeSpot.com, 225 N. Pace Blvd., Pensacola, FL 32505-7915

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: notices@fraserlawfl.com
                                                                                        Sep 02 2023 01:28:00      Steven Fraser, Steven C. Fraser, PA, Post Office
                                                                                                                  Box 550868, Jacksonville, FL 32255
tr                     + EDI: BSFCHANCELLOR
                                                                                        Sep 02 2023 04:03:00      Sherry Chancellor, Law Office of Sherry F.
                                                                                                                  Chancellor, 619 West Chase St., Pensacola, FL
                                                                                                                  32502-4711
smg                        EDI: FLDEPREV.COM
                                                                                        Sep 02 2023 04:03:00      Florida Dept. of Labor/Employment Security, c/o
                                                                                                                  Florida Dept. of Revenue, P.O. Box 6668,
                                                                                                                  Tallahassee, FL 32314-6668
smg                        EDI: FLDEPREV.COM
                                                                                        Sep 02 2023 04:03:00      Florida Dept. of Revenue, Bankruptcy Unit, P.O.
                                                                                                                  Box 6668, Tallahassee, FL 32314-6668
smg                        Email/Text: USAFLN.TLHBankruptcy@usdoj.gov
                                                                                        Sep 02 2023 01:28:00      U.S. Attorney (Pensacola Office), 21 E. Garden
                                                                                                                  Street #400, Pensacola, FL 32501
smg                        Email/Text: USAFLN.TLHBankruptcy@usdoj.gov
                                                                                        Sep 02 2023 01:28:00      U.S. Attorney (Tallahassee Office), 111 N. Adams
                                                                                                                  Street, Fourth Floor, Tallahassee, FL 32301
ust                    + Email/Text: ustpregion21.TL.ecf@usdoj.gov
                                                                                        Sep 02 2023 01:28:00      United States Trustee, 110 E. Park Avenue, Suite
                                                                                                                  128, Tallahassee, FL 32301-7728
2512041                + Email/PDF: bncnotices@becket-lee.com
                                                                                        Sep 02 2023 01:17:07      American First Finance, LLC, P.O. Box 565848,
                                                                                                                  Dallas, TX 75356-5848
2512043                + Email/Text: documents@apellesnow.com
                                                                                        Sep 02 2023 01:28:00      Appelles, LLC, Attn: Bankruptcy Dept., 3700
                                                                                                                  Corporate Dirve, Suite 240, Columbus, OH
                                                                                                                  43231-5001
2512046                + EDI: CCS.COM
                                                                                        Sep 02 2023 04:03:00      Credit Collection Services, Attn: Bankruptcy
                                                                                                                  Dept., 725 Canton Street, Norwood, MA
                                                                                                                  02062-2679
2512047                    Email/Text: takierra@fdscredit.com
                                                                                        Sep 02 2023 01:28:00      Financial Data Systems, Attn: Bankruptcy, Po Box
                                                                                                                  688, Wrightsville Beach, NC 28480
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District/off: 1129-3                                              User: admin                                                             Page 2 of 2
Date Rcvd: Sep 01, 2023                                           Form ID: b309a                                                        Total Noticed: 28
2512045                  EDI: JPMORGANCHASE
                                                                                   Sep 02 2023 04:03:00     Chase Card Services, Attn: Bankruptcy, P.O.
                                                                                                            15298, Wilmington, DE 19850
2512049                  EDI: JPMORGANCHASE
                                                                                   Sep 02 2023 04:03:00     JPMCB, Attn: Bankrutpcy Dept., Post Office Box
                                                                                                            15369, Wilmington, DE 19850
2512050                  Email/Text: sheri@masinc.org
                                                                                   Sep 02 2023 01:28:00     Merchants Adjustment Service, Attn: Bankruptcy,
                                                                                                            56 North Florida St, Mobile, AL 36607
2512052               + Email/Text: netcreditbnc@enova.com
                                                                                   Sep 02 2023 01:28:00     NetCredit, Attn: Bankruptcy, 175 W. Jackson
                                                                                                            Blvd, Ste 1000, Chicago, IL 60604-2863
2512053               + EDI: AGFINANCE.COM
                                                                                   Sep 02 2023 04:03:00     OneMain Financial, Attn: Bankruptcy, Po Box
                                                                                                            3251, Evansville, IN 47731-3251
2512054               + Email/Text: bkrnotice@prgmail.com
                                                                                   Sep 02 2023 01:28:00     Paragon Revenue Group, Attn: Bankruptcy, Po
                                                                                                            Box 127, Concord, NC 28026-0127
2512055               + Email/Text: newbk@Regions.com
                                                                                   Sep 02 2023 01:28:00     Regions Bankcard, Attn: Bankruptcy, 2050
                                                                                                            Parkway Office Circle, Hoover, AL 35244-1805
2512059                  Email/Text: bankruptcytn@wakeassoc.com
                                                                                   Sep 02 2023 01:28:00     Wakefield & Associates, Attn: Bankruptcy, 7005
                                                                                                            Middlebrook Pike, Knoxville, TN 37909

TOTAL: 19


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 03, 2023                                        Signature:           /s/Gustava Winters
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Information to identify the case:
Debtor 1              Jody Ann Salway                                                    Social Security number or ITIN       xxx−xx−2371
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Florida
                                                                                         Date case filed for chapter 7 August 31, 2023
Case number: 23−30613−KKS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully. To protect your rights, consult an attorney.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or through PACER
(Public Access to Court Electronic Records) at https://pacer.uscourts.gov. Anyone can register for the Electronic Bankruptcy
Noticing program at https://bankruptcynotices.uscourts.gov/ to quickly receive court−issued notices and orders by email. This
program is FREE.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Jody Ann Salway

2.      All other names used in the fka Jody A Roberts
        last 8 years

3.      Address                                  3333 Village Green Dr.
                                                 Milton, FL 32571

4.     Debtor's attorney                     Steven Fraser                                            Contact phone 877−862−7188
       Name and address                      Steven C. Fraser, PA
                                             Post Office Box 550868                                   Email: notices@fraserlawfl.com
                                             Jacksonville, FL 32255

5.     Bankruptcy trustee                    Sherry Chancellor                                        Contact phone 850−436−8445
       Name and address                      Law Office of Sherry F. Chancellor
                                             619 West Chase St.                                       Email: sherry.chancellor@yahoo.com
                                             Pensacola, FL 32502
                                                                                                              For more information, see page 2 >



Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                  page 1
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Debtor Jody Ann Salway                                                                                                       Case number 23−30613−KKS


6. Bankruptcy clerk's office                      110 E. Park Ave., Ste. 100                                          Hours open 9:00am − 4:00pm
                                                  Tallahassee, FL 32301
    Documents in this case may be filed at this                                                                       Contact phone (866) 639−4615
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                                    Date: August 31, 2023


7. Meeting of creditors                           October 3, 2023 at 09:50 AM, CT                                     Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a                      Meeting will be telephonic. Dial
    questioned under oath. In a joint case,       later date. If so, the date will be on the court                    (866), 721−8020 and enter
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                             6505229, when prompted for
                                                                                                                      participation code.
                                                      *** Valid photo identification and proof of Social
                                                                 Security Number required ***                         For Zoom meeting information go to
                                                                                                                      www.justice.gov/ust/moc.


8. Presumption of abuse                           Insufficient information has been filed to date to permit the clerk to make any
                                                  determination concerning the presumption of abuse. If more complete information,
    If the presumption of abuse arises, you       when filed, shows that the presumption has arisen, creditors will be notified.
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline:
                                               to challenge whether certain debts are                                 December 4, 2023
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:

                                                           • if you assert that the debtor is not entitled to
                                                             receive a discharge of any debts under any of
                                                             the subdivisions of 11 U.S.C. § 727(a)(2) through
                                                             (7), or

                                                           • if you want to have a debt excepted from
                                                             discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:

                                                           • if you assert that the discharge should be denied
                                                             under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as exempt. If      conclusion of the meeting of creditors
                                                  you believe that the law does not authorize an exemption claimed,
                                                  you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                    page 2
